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   7                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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        PATRICIA MUNOZ                              CASE NO:
   10                                               2:15−cv−04389−MMM−JEM
                      Plaintiff(s),
   11        v.                                     ORDER OF DISMISSAL FOR
   12 UNITED RECOVERY SYSTEMS, LP                   LACK OF PROSECUTION
                                                    WITHOUT PREJUDICE
   13
                                                    (Pursuant to Local Rule 41)
   14                Defendant(s).
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   17         On 11/12/2015, the Court issued an Order to Show Cause why this

   18    case should not be dismissed for lack of prosecution.

   19        A written response to the Order to Show Cause was ordered to be filed
   20    no later than 11/19/2015.
   21         No response having been filed to the Court’s Order to Show Cause,
   22         IT IS ORDERED AND ADJUDGED that the above−entitled case is dismissed,
   23    without prejudice, for lack of prosecution and for failure to comply with the orders
   24    of the Court, pursuant to Local Rule 41.
   25
            IT IS SO ORDERED.
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        Dated: November 20, 2015
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                                            Margaret M. Morrow
                                            United States District Judge
